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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

ST. PAUL’S FOUNDATION and SHRINE
OF SAINT NICHOLAS THE
WONDERWORKER, PATRON OF
SAILORS, BREWERS AND REPENTANT
THIEVES

                   Plaintiffs,
       v.
                                                       Civil Action No. 1:19cv11504-DJC
RICHARD BALDACCI, in his official
capacity as Building Commissioner for the
Town of Marblehead, and THE TOWN OF
MARBLEHEAD,

                   Defendants.



 JOINT STATEMENT PURSUANT TO THE COURT’S ORDER DATED AUGUST 29,
 2019 (Dkt. #25) AND NOTICE OF ASSENTED-TO WITHDRAWAL OF PLAINTIFFS’
                MOTION FOR PRELIMINARY INJUNCTION (Dkt. #8)

       In response to the Court’s Order dated August 29, 2019 (Dkt. #25), the parties state as

follows:

       1.       By Motion for Preliminary Injunction filed on July 9, 2019 (Dkt. #8), Plaintiffs

sought an order, pursuant to the Religious Land Use and Institutionalized Persons Act, 42 U.S.C.

Sec. 2000cc, requiring “Defendants to reinstate Plaintiffs’ building permit to allow internal

renovations to the first floor of Plaintiffs’ monastic shrine.”

       2.       In addition to filing the Motion for Preliminary Injunction, Plaintiffs, out of an

abundance of caution, separately filed an administrative appeal with the Massachusetts Building

Code Board of Appeals (“Board”) from Defendants’ refusal to reinstate the building permit.

       3.       After receiving an extension of time from the Court, Defendants filed their

opposition to Plaintiffs’ Motion for a Preliminary Injunction on August 16, 2019 (Dkt. # 24).

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       4.       On August 20, 2019, the Board held a hearing on the administrative appeal and,

after the evidence was presented, ordered Defendants to reinstate Plaintiffs’ building permit.

       5.       Accordingly, Plaintiffs have effectively received the relief they requested in the

Motion for Preliminary Injunction due to the quick action of the Board, and Plaintiffs therefore

withdraw the motion without prejudice.



Dated: September 6, 2019

RICHARD BALDACCI, IN HIS OFFICIAL                     ST. PAUL’S FOUNDATION and SHRINE
CAPACITY AS BUILDING                                  OF ST. NICHOLAS THE
COMMISSIONER FOR THE TOWN OF                          WONDERWORKER, PATRON OF
MARBLEHEAD, AND THE TOWN OF                           SAILORS, BREWERS AND REPENTANT
MARBLEHEAD,                                           THIEVES

                                                      By Their Attorneys,
By Their Attorneys,

                                                      /s/ John B. Daukas________________
/s/ Leonard H. Kesten___________________              John B. Daukas, Bar No. 552848
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 6, 2019, I electronically transmitted the foregoing

document to the Clerk’s Office using the U.S. District Court for the District of Massachusetts’

Electronic Document Filing System (ECF), which will serve a copy of this document upon all

counsel of record.


                                                   By:    /s/ John B. Daukas
                                                          JOHN B. DAUKAS




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